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                                                  1   David A. Berstein (State Bar No. 204472)
                                                      J. R. Dimuzio (State Bar No. 299803)
                                                  2
                                                      BERSTEIN LAW, PC
                                                  3   4000 MacArthur Boulevard, Suite 600 East Tower
                                                  4
                                                      Newport Beach, California 92660
                                                      T: 949.783.4210
                                                  5   E-mail: david@bersteinlaw.com; jr@bersteinlaw.com
                                                  6   Attorneys for Plaintiffs MMAS Research, LLC and Dr. Donald E. Morisky
                                                  7

                                                  8                    IN THE UNITED STATES DISTRICT COURT

                                                  9     FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
4000 MACARTHUR BOULEVARD, SUITE 600 EAST TOWER




                                                 10
                                                        MMAS RESEARCH, LLC, a                     Case No.
       NEWPORT BEACH, CALIFORNIA 92660




                                                 11
                                                        Washington Limited Liability
                                                                                                  COMPLAINT FOR DAMAGES:
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                                                 12     Company; and DR. DONALD E.
                                                        MORISKY, an individual,                     1. Copyright Infringement Under
                                                 13
                                                                                                       17 U.S.C. §101, et seq.
                                                 14                Plaintiffs,                      2. False Designation of
                                                 15                                                    Origin/Federal Unfair
                                                        v.                                             Competition Under 15 U.S.C. §
                                                 16
                                                                                                       1125(a)
                                                        THE REGENTS OF THE
                                                 17                                                 3. Violation of California Business
                                                        UNIVERSITY OF CALIFORNIA, a
                                                 18     California corporation, and DOES 1             & Professions Code §§ 17200,
                                                        through 10, inclusive,                         et seq.
                                                 19
                                                 20                Defendants.                    JURY TRIAL DEMANDED
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                                                                                   COMPLAINT FOR DAMAGES
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                                                  1          Plaintiffs MMAS Research, LLC and Dr. Donald Morisky complain and allege as
                                                  2   follows:
                                                  3                                            PARTIES
                                                  4   1.     Plaintiff MMAS Research, LLC ("MMAS Research") is a Washington, LLC in
                                                  5   good standing which conducts business in the Central District of California.
                                                  6   2.     Plaintiff Dr. Donald Morisky ("Morisky") is an individual and principal of Plaintiff
                                                  7   MMAS Research.         Plaintiff Morisky, a Professor Emeritus at the University of
                                                  8   California, Los Angeles, conducts business primarily within the jurisdiction of this Court.
                                                  9   3.     Plaintiffs MMAS Research and Morisky shall collectively be referred to herein as
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                                                 10   "Plaintiffs."
                                                      4.     Defendant The Regents of the University of California ("Defendants" or "THE
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                                                 12   REGENTS") is a California public corporation, authorized and empowered to administer
                                                 13   a public trust known as the University of California, pursuant to Article IX, Section 9,
                                                 14   subdivisions (a) and (f) of the California Constitution. Its principal place of business is in
                                                 15   Oakland, Alameda County, California.
                                                 16   5.     The University of California, San Francisco and the University of California, San
                                                 17   Francisco Medical Center are each subsumed entities of THE REGENTS.
                                                 18   6.     The true names and capacities of Defendants DOES 1 through 10, inclusive,
                                                 19   whether individual, corporate, associate, or otherwise, are unknown to Plaintiff, who
                                                 20   therefore sues such Defendants by such fictitious names.
                                                 21   7.     Plaintiffs are informed, believe, and thereon allege that said DOES 1 through 10,
                                                 22   inclusive, are officers, employees, and/or agents of the other Defendants and/or the alter-
                                                 23   ego of the Defendants and were acting in that capacity at all relevant times.
                                                 24   8.     Plaintiffs will seek leave of this Court to amend this Complaint to show the true
                                                 25   names and capacities of DOES 1 through 10, inclusive, when same have been ascertained.
                                                 26   9.     Plaintiffs are informed, believe, and thereon allege that each of the Defendants
                                                 27   named herein as DOES 1 through 10, inclusive, were and are in some manner responsible
                                                 28   for the actions, acts, and omissions herein alleged, and for the damage caused by the
                                                                                                    2
                                                                                        COMPLAINT FOR DAMAGES
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                                                  1   Defendants and are, therefore, jointly and severally liable for the damage caused to
                                                  2   Plaintiffs.
                                                  3   10.    Plaintiffs are informed, believe, and thereon allege that each of the Defendants,
                                                  4   including DOES 1 through 10, inclusive were, at all times herein relevant, acting in
                                                  5   concert with and in conspiracy with each and every one of the remaining Defendants.
                                                  6   Plaintiffs will amend this Complaint to allege the true names and capacities of such
                                                  7   DOES, together with such allegations as are appropriate, when same are ascertained.
                                                  8   11.    Each Defendant is sued both as principal and as the servant, agent, employee, co-
                                                  9   venturer, and co-tortfeasor of the remaining Defendants, and each of them is liable in
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                                                 10   some manner for the damages to Plaintiffs complained of herein.
                                                      12.    Plaintiffs are informed, believe, and thereon allege Defendants, and each of them,
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                                                 12   did at all material times foresee the nature and extent of the probable consequences of
                                                 13   their acts in proximately causing said damages to Plaintiffs, and acted within the course
                                                 14   and scope of such service, agency, employment, and joint venture, and with the
                                                 15   knowledge, permission, and authority, actual and apparent, express and implied, direct
                                                 16   and vicarious, of the remaining Defendants, and each of them.
                                                 17   13.    At all times, each Defendant was either an individual, corporation, partnership,
                                                 18   association, group, or entity, doing business or carrying on business in this District.
                                                 19   14.    Wherever appearing in this Complaint, each and every reference to Defendants or
                                                 20   to any of them, is intended to be and shall be a reference to all Defendants hereto, and to
                                                 21   each of them named and unnamed, including all fictitiously named Defendants, unless
                                                 22   said reference is otherwise specifically qualified.
                                                 23   15.    Plaintiffs are informed, believe, and thereon allege that at all relevant times each
                                                 24   of the Defendants was the agent, employee, representative, co-conspirator, affiliate, alter-
                                                 25   ego, and/or successor-in-interest of each of them, and of each other, and has, in such
                                                 26   capacity or capacities, participated in the acts or conduct alleged herein. All allegations
                                                 27   made herein shall apply to both the Defendants and to unnamed DOE Defendants, as
                                                 28   applicable.
                                                                                                   3
                                                                                        COMPLAINT FOR DAMAGES
                                                            Case 2:18-cv-09767 Document 1 Filed 11/20/18 Page 4 of 36 Page ID #:4


                                                  1                                JURISDICTION AND VENUE
                                                  2   16.    This action arises under the Copyright Act of 1976, 17 U.S.C. §§101 et. seq., and
                                                  3   the Lanham Trademark Act of 1946, 15 U.S.C. § 1051, et seq., conferring Federal
                                                  4   question jurisdiction under 28 U.S.C. § 1331, and supplemental jurisdiction on Plaintiffs’
                                                  5   state law claims under 28 U.S.C. § 1367.
                                                  6   17.    Venue is proper in this District pursuant to 28 U.S.C. §§1391(b)(2) as: (a) a
                                                  7   substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
                                                  8   District; (b) Defendants conduct business in this District; (c) the unlawful acts of
                                                  9   Defendants complained of herein have been committed within and/or have had or will
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                                                 10   have had an effect in this District; and (f) Plaintiffs, who conduct their business in this
                                                      District, have been and will continue to be damaged by Defendants’ unlawful acts.
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                                                 12                                 GENERAL ALLEGATIONS
                                                 13                   MORISKY MEDICATION ADHERENCE SCALES
                                                 14   18.    As early as 2002, Plaintiff Morisky, a Professor Emeritus at UCLA, independently
                                                 15   developed a distinctive diagnostic tool which determines a patient’s adherence to his or
                                                 16   her prescribed medication. The tool is known as the Morisky Medication Adherence
                                                 17   Scale (“MMAS”).
                                                 18   19.    The MMAS measures a person/patient’s adherence to their prescribed medication,
                                                 19   and the results lead to specific diagnosis, medication reconciliation, and interventions to
                                                 20   optimize treatment, as well as form the basis for conclusions/assertions in scientific
                                                 21   papers, all covering a wide variety of chronic and infectious diseases and medical
                                                 22   conditions. The MMAS is most commonly administered electronically in questionnaire
                                                 23   form by individuals/entities who are licensees of Plaintiffs.
                                                 24   20.    The MMAS is currently utilized in two (2) forms, the MMAS-4 (consisting of 4
                                                 25   specifically-tailored questions) and the MMAS-8 (consisting of 8 specifically-tailored
                                                 26   questions).
                                                 27   21.    The MMAS-4 is a measure of medication-taking behavior, also referred to as
                                                 28   compliance, adherence, and concordance. It is used as a screening tool for non-adherence
                                                                                                    4
                                                                                        COMPLAINT FOR DAMAGES
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                                                  1   to the medical recommendations of the health care provider. The MMAS-4 is intended to
                                                  2   be integrated into the patient’s health care visit when the physician informally asks the 4
                                                  3   questions and provides immediate feedback to the patient. This “teachable moment” is
                                                  4   one of the most important aspects of potential behavioral change as counseling and
                                                  5   reinforcement over time has shown significant improvement of adherence over time.
                                                  6   22.    The MMAS-8 is a diagnostic adherence assessment instrument which contains a
                                                  7   total of eight items measuring two dimensions of non-adherence, namely intentional and
                                                  8   unintentional non-adherence. Furthermore, the MMAS-8 is more than a number defining
                                                  9   the magnitude of non-adherence as it also tells the physician “WHY” the patient is non-
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                                                 10   adherent.
                                                      23.    The MMAS-8 is the only diagnostic adherence assessment instrument in the
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                                                 12   scientific literature that has one of the highest measures of reliability (stability of the
                                                 13   measure over time) and validity. It has been validated in over 80 different languages in
                                                 14   the world using many levels of validation.
                                                 15                                        COPYRIGHTS
                                                 16   24.    In an effort to protect the integrity of the MMAS-4 and protect against counterfeit,
                                                 17   infringing, and/or unauthorized use, Plaintiff Morisky filed for and obtained a Certificate
                                                 18   of Registration for the "Morisky Medication Adherence Scale (4-item)" ("Morisky
                                                 19   MMAS-4 Copyright") (Registration No. TX0008285390, Registration date June 12,
                                                 20   2016) which is comprised of the text of the MMAS-4 test.
                                                 21   25.    In an effort to protect the integrity of the MMAS-8 and protect against counterfeit,
                                                 22   infringing, and/or unauthorized use, Plaintiff Morisky filed for and obtained a Certificate
                                                 23   of Registration for the "Morisky Medication Adherence Scale (8-item)" ("Morisky
                                                 24   MMAS-8 Copyright") (Registration No. TX0008632533, Registration date September
                                                 25   21, 2018) which is comprised of the text of the MMAS-8 test.
                                                 26   26.    As used herein, the Morisky MMAS-4 Copyright and Morisky MMAS-8
                                                 27   Copyright, when used collectively, are referred to as the MORISKY COPYRIGHTS.
                                                 28

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                                                                                       COMPLAINT FOR DAMAGES
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                                                  1   27.    Plaintiff Morisky has complied in all respects with the Copyright Act of 1976, 17
                                                  2   U.S.C. §101 et. seq. and all other laws governing copyrights as to the MORISKY
                                                  3   COPYRIGHTS.
                                                  4   28.    Since the MORISKY COPYRIGHTS were created, Plaintiff Morisky has been,
                                                  5   and still is, the sole author and exclusive holder of all rights, title, and interest in and to
                                                  6   the copyrights to the MORISKY COPYRIGHTS. Plaintiff MORISKY has not granted
                                                  7   any license or right to any person or entity, including Defendants, to use the MORISKY
                                                  8   COPYRIGHTS except solely in association with the authorized use of the Morisky
                                                  9   Medication Adherence Scales (MMAS-4 and/or MMAS-8).
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                                                 10   29.    The MORISKY COPYRIGHTS are vital to Plaintiffs’ ongoing business and
                                                      profession and, more specifically, Plaintiffs’ efforts to ensure that third party use of the
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                                                 12   Morisky Medication Adherence Scales (MMAS-4 and/or MMAS-8) are authorized and
                                                 13   utilized in compliance with Plaintiffs' strict scoring and coding which are maintained by
                                                 14   Plaintiffs as trade secrets.
                                                 15                                        TRADEMARKS
                                                 16   30.    Plaintiffs are also the creators and owners of the trademarks “Morisky Medication
                                                 17   Adherence Scale,” "MMAS,” “MMAS-4,” MMAS-8,” and “Morisky Widget”
                                                 18   (hereinafter “the MORISKY MARKS”).
                                                 19   31.    The "MMAS" trademark is the subject of Federal Trademark Application Serial
                                                 20   No. 87775045 and has been used in commerce since at least as early as February 2006.
                                                 21   32.    The "MORISKY WIDGET" trademark is the subject of Federal Trademark
                                                 22   Application Serial No. 87775097 and has been used in commerce since at least as early
                                                 23   as January 2017.
                                                 24   33.    As a result of the extensive, exclusive, and continued use of the MORISKY
                                                 25   MARKS in commerce, medical institutions through, among others, their physicians,
                                                 26   nurses, researchers, clinicians, and/or medical students have come to recognize and
                                                 27   identify the MORISKY MARKS exclusively with the medication adherence scales
                                                 28

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                                                                                         COMPLAINT FOR DAMAGES
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                                                  1   developed by Plaintiff Morisky. The MORISKY MARKS have become a valuable asset
                                                  2   of Plaintiffs as well as a symbol of their goodwill and positive reputations.
                                                  3                                          LICENSES
                                                  4   34.    It is of critical importance the integrity of the MMAS be maintained. This is why
                                                  5   a strict licensing regimen is used and disclosure of scoring and coding criteria, and
                                                  6   translations not provided by Plaintiffs, are not permitted.
                                                  7   35.    Plaintiffs have discovered that when someone obtains the MMAS scoring and
                                                  8   coding criteria they often make changes that lead to erroneous results. Others obtaining
                                                  9   the MMAS from counterfeiters often make further unauthorized revisions, further
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                                                 10   increasing the risk of harm to patients and misleading healthcare providers. Unlicensed
                                                      translations are often divulged and used with the scoring and coding criteria which render
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                                                 12   the results invalid and misunderstood.
                                                 13   36.    Plaintiffs have spent considerable time and money to develop, maintain, and
                                                 14   advance the MMAS described herein and it now can be administered with regard to 110
                                                 15   medical conditions and thousands of specific medications as of this filing, and in more
                                                 16   than 80 languages. The MMAS is used by physicians, hospitals, clinicians,
                                                 17   pharmaceutical companies, universities, medical researchers, and health ministries
                                                 18   throughout the world, including National Institute of Health funded studies, all to
                                                 19   measure medication adherence and identify the reasons for why patients do not take their
                                                 20   prescribed medications. MMAS translations are provided by Plaintiffs for a small fee
                                                 21   along with a translation certification. Translations of the MMAS without proper
                                                 22   authorization are prohibited.
                                                 23   37.    The various MMAS diagnostic assessments are validated and translated in over 80
                                                 24   languages and utilized throughout the world. The MMAS is famous in the industry and
                                                 25   is the number one patient-centered diagnostic medication adherence assessment of its
                                                 26   kind. Plaintiffs make considerable efforts to maintain the secrecy of the scoring and
                                                 27   coding of the scale and expressly forbid the disclosure of scoring and coding in their
                                                 28   license agreements with licensees of all versions of the MMAS.
                                                                                                   7
                                                                                       COMPLAINT FOR DAMAGES
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                                                  1   38.    Plaintiffs permit the use of the MORISKY COPYRIGHTS, MORISKY MARKS,
                                                  2   and the MMAS only through a licensing program memorialized in a licensing agreement.
                                                  3   This ensures uniformity of use in scoring and coding, as well as provides much needed
                                                  4   support from Plaintiffs. Modifications of the MMAS, and disclosure of scoring and
                                                  5   coding criteria and linguistically certified translations are not permitted.
                                                  6   39.    Reasonable efforts are taken by Plaintiffs to protect and not to disseminate the
                                                  7   MMAS or Translated Versions to non-authorized users, as well as the scoring and coding.
                                                  8   These restrictions not only protect patients and health care providers from counterfeit
                                                  9   diagnostic assessments and inaccurate scoring and coding, but also protect the economic
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                                                 10   interests of Plaintiffs in the MORISKY COPYRIGHTS, MORISKY MARKS, the
                                                      MMAS itself along with the diagnostic assessment as they receive licensing fees and are
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                                                 12   paid per test administered, unless such fees are waived. In fact, the license agreement
                                                 13   expressly provides that scoring and coding may not be disclosed.
                                                 14   40.    Licenses are typically provided at no cost for federally-funded studies, and to
                                                 15   educational institutions that are not receiving funding for the research/study for which
                                                 16   the MMAS is to be used. Others are charged a fee for a fixed term or for a perpetual
                                                 17   license sold as the “Morisky Widget.” Plaintiffs also charge fees for training and
                                                 18   certification in use of the Morisky Widget, and there is a charge for each test administered
                                                 19   by a licensee, in addition to those included in the cost of the license.
                                                 20   41.    The MORISKY COPYRIGHTS, MORISKY MARKS, and the MMAS have been
                                                 21   cited in over 8,000 academic journals throughout the world.
                                                 22   42.    Due to Plaintiffs’ exclusive and extensive use, through a strict regimen of licensing
                                                 23   and supervision, the MORISKY COPYRIGHTS, MORISKY MARKS, and the MMAS
                                                 24   have enormous value both economically and for the promotion of health and proper
                                                 25   diagnosis of persons suffering from a wide range of chronic and infectious diseases and
                                                 26   mental health conditions worldwide.
                                                 27   ///
                                                 28   ///
                                                                                                    8
                                                                                        COMPLAINT FOR DAMAGES
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                                                  1                        DEFENDANT'S INFRINGING CONDUCT
                                                  2   43.    Plaintiffs are informed and believe on or about November 22, 2011, Plaintiffs
                                                  3   entered into an agreement with Linda G. Park, a PhD student at the University of
                                                  4   California, San Francisco, for the use of the MORISKY COPYRIGHTS, MORISKY
                                                  5   MARKS, and the MMAS.
                                                  6   44.    Pursuant to the terms of the November 22, 2011 agreement, referred to above, Ms.
                                                  7   Park, as agent and/or employee of the University of California, San Francisco, obtained
                                                  8   a license to the MORISKY COPYRIGHTS, MORISKY MARKS, and the MMAS for
                                                  9   one (1) year or the duration of her study, whichever was shorter.
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                                                 10   45.    Plaintiffs are informed and believe, Ms. Park’s recruitment of participants for her
                                                      study took place between April 2012 and March 2013.
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                                                 12   46.    After that time, Ms. Park administered as part of her study the Morisky Medication
                                                 13   Adherence Scale (MMAS-8), in violation of her terms of use of the agreement entered
                                                 14   into on November 22, 2011.
                                                 15   47.    Additionally, in or about 2014, a study was published based on Ms. Park’s research
                                                 16   entitled “A text messaging intervention to promote medication adherence for patients
                                                 17   with coronary heart disease: A randomized controlled trial,” in which there exists
                                                 18   multiple infringements of the MORISKY COPYRIGHTS, MORISKY MARKS, and the
                                                 19   MMAS. Attached hereto as Exhibit "A" is a true and correct copy of the published 2014
                                                 20   Study.
                                                 21   48.    Further, in or about August 21, 2015, Ms. Selena Z. Kuo, as agent and/or employee
                                                 22   of the University of California, San Francisco, entered into an agreement with Plaintiffs
                                                 23   for the use of the MORISKY COPYRIGHTS, MORISKY MARKS, and the MMAS for
                                                 24   the duration of her study or one (1) year, whichever was shorter.
                                                 25   49.    Plaintiffs are informed and believe, Ms. Kuo’s recruitment of participation for her
                                                 26   study took place between April 2015 and November 2015.
                                                 27   ///
                                                 28   ///
                                                                                                  9
                                                                                       COMPLAINT FOR DAMAGES
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                                                  1   50.   Plaintiffs are informed and believe, Ms. Kuo administered, as part of her study, the
                                                  2   Morisky Medication Adherence Scale (MMAS-8), in violation of her terms of use of the
                                                  3   agreement entered into on August 21, 2015.
                                                  4   51.   On August 14, 2016, a study was published in Digestive Diseases & Sciences,
                                                  5   Volume 61, Number 12 entitled "Factors Associated with Medication Non-adherence in
                                                  6   Patients   with   End-Stage     Liver    Disease"    (Published    online    2016    Dec
                                                  7   8. doi: [10.1007/s10620-016-4391-z]), (Dig Dis Sci. 2017 Feb; 62(2): 543–549)
                                                  8   (hereinafter the "2016 Study). Attached hereto as Exhibit "B" is a true and correct copy
                                                  9   of the published 2016 Study.
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                                                 10   52.   The 2016 Study was conducted by and its publication was co-authored by Selena
                                                      Z. Kuo, BS, Marta Haftek, MPH, and Jennifer C. Lai, MD, MBA all acting as agents
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                                                 12   and/or employees for the University of California, San Francisco – a subsumed entity of
                                                 13   Defendant THE REGENTS.
                                                 14   53.   On July 18, 2017, a study was published in JMIR Research Protocols
                                                 15   (https://www.researchprotocols.org/2017/7/e134) entitled "Comparing Mobile Health
                                                 16   Strategies to Improve Medication Adherence for Veterans With Coronary Heart Disease
                                                 17   (Mobile4Meds): Protocol for a Mixed-Methods Study," Clinical Trial Registration No.
                                                 18   NCT03022669 (hereinafter the "2017 Study"). Attached hereto as Exhibit "C" is a true
                                                 19   and correct copy of the published 2017 Study.
                                                 20   54.   The 2017 Study was conducted by and its publication was co-authored by Linda
                                                 21   G. Park, RN, PhD, FNP, Janet K. Shim, PhD, and Mary A. Whooley, MD all acting as
                                                 22   agents and/or employees for the University of California, San Francisco – a subsumed
                                                 23   entity of Defendant THE REGENTS.
                                                 24   55.   During the course of the 2016 Study and the 2017 Study, the aforementioned
                                                 25   individuals and/or those at their direction or on their behalf administered the MMAS-8
                                                 26   and published the results in the 2016 Study and the 2017 Study utilizing the Morisky
                                                 27   MMAS-8 Copyright and the "Morisky Medication Adherence Scale" and "MMAS-8"
                                                 28   trademarks without a valid license to do so.
                                                                                                 10
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                                                  1   56.    To date, Defendant THE REGENTS has refused to cooperate with Plaintiffs in an
                                                  2   attempt to identify whether the results published by the 2 studies are valid or obtained
                                                  3   through counterfeit, inaccurate tests, and/or scoring. Further, Defendant THE REGENTS
                                                  4   has flippantly refused to cooperate in obtaining a retroactive, corrective license, training,
                                                  5   and certification in the proper use and scoring of the MMAS-8 diagnostic tool which,
                                                  6   along with its coding, are maintained as Plaintiffs' trade secret.
                                                  7                                 FIRST CAUSE OF ACTION
                                                  8         FOR MMAS-8 COPYRIGHT INFRINGEMENT (17 U.S.C. § 101, et seq.)
                                                  9            BY PLAINTIFF DR. MORISKY AGAINST ALL DEFENDANTS
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                                                 10   57.    Plaintiff Morisky alleges and reincorporates by reference each and every allegation
                                                      contained in paragraphs 1 through 56 as though fully set forth herein.
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                                                 12   58.    At all times relevant hereto, Plaintiff Morisky has been the owner of all copyright
                                                 13   rights or rights to assert copyright claims for the Morisky MMAS-8 Copyright and all
                                                 14   derivative works. Plaintiff Morisky has complied in all respects with the Copyright Act
                                                 15   of 1976, 17 U.S.C. § 101 et seq., and all other laws governing copyright.
                                                 16   59.    Plaintiff Morisky is informed and believes and thereon alleges that Defendants
                                                 17   without authorization, have infringed and will continue to infringe the Morisky MMAS-
                                                 18   8 Copyright by using, copying, counterfeiting, distributing, or otherwise exploiting same
                                                 19   without a license to do so.
                                                 20   60.    By means of the actions complained of herein, Defendants, and each of them, have
                                                 21   infringed, and will continue to infringe, the Morisky MMAS-8 Copyright.
                                                 22   61.    Plaintiff Morisky is entitled to an injunction restraining Defendants, and each of
                                                 23   them, and all persons acting in concert with them, from engaging in further such acts in
                                                 24   violation of the copyright laws.
                                                 25   62.    As a direct result of Defendants’ infringement, Plaintiff Morisky has sustained
                                                 26   damages in an amount to be determined at trial.
                                                 27   ///
                                                 28   ///
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                                                                                         COMPLAINT FOR DAMAGES
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                                                  1   63.   Pursuant to 17 U.S.C. §§ 502, 503, 504, and 505, Plaintiff Morisky is entitled to
                                                  2   an award of actual or statutory damages, injunctive relief, the impoundment and
                                                  3   destruction of the infringing materials, and his attorneys’ fees and costs.
                                                  4   64.   Plaintiff Morisky is also entitled to damages, pursuant to the Copyright Act of
                                                  5   1976, 17 U.S.C. §§ 101, et. seq., for Defendants’ willful and continued infringement of
                                                  6   the Morisky MMAS-8 Copyright.
                                                  7                               SECOND CAUSE OF ACTION
                                                  8     FALSE DESIGNATION OF ORIGIN/FEDERAL UNFAIR COMPETITION
                                                  9                                 UNDER 15 U.S.C. § 1125(a)
4000 MACARTHUR BOULEVARD, SUITE 600 EAST TOWER




                                                 10                    BY PLAINTIFFS AGAINST ALL DEFENDANTS
                                                      65.   Plaintiffs reallege each and every allegation set forth in Paragraphs 1 through 64,
       NEWPORT BEACH, CALIFORNIA 92660




                                                 11
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                                                 12   inclusive, and incorporates them by reference herein.
                                                 13   66.   As herein alleged, Defendants’ unauthorized use of the "Morisky Medication
                                                 14   Adherence Scale" and "MMAS-8" trademarks in connection with the publications of the
                                                 15   2016 Study and 2017 Study constitutes unfair competition and false designation of origin
                                                 16   in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), because
                                                 17   Defendants’ use of the marks suggests a false designation of the origin of the
                                                 18   unauthorized MMAS-8 diagnostic tests used, identified, and published. Further, such
                                                 19   acts of infringement by Defendants further suggests a false association with Plaintiffs
                                                 20   and/or that Plaintiffs approved of or authorized the use of the unauthorized MMAS-8
                                                 21   diagnostic tests used, identified, and published by Defendants.
                                                 22   67.   As a direct and legal result Defendants’ unauthorized use of the "Morisky
                                                 23   Medication Adherence Scale" and "MMAS-8" trademarks, Defendants have damaged
                                                 24   and will continue to damage Plaintiffs and Plaintiffs’ goodwill and reputation; and have
                                                 25   caused and are likely to continue to cause a loss of profits for Plaintiffs. Defendants’
                                                 26   actions have caused and will continue to cause irreparable harm to Plaintiffs and to the
                                                 27   public, who is confused by Defendants’ unauthorized use of the "Morisky Medication
                                                 28   Adherence Scale" and "MMAS-8" trademarks, unless restrained and enjoined by this
                                                                                                   12
                                                                                       COMPLAINT FOR DAMAGES
                                                         Case 2:18-cv-09767 Document 1 Filed 11/20/18 Page 13 of 36 Page ID #:13


                                                  1   Court. Plaintiffs have no adequate remedy at law to prevent Defendants from continuing
                                                  2   their infringing actions and from injuring Plaintiffs.
                                                  3   68.       As a further direct and legal result of Defendants’ actions, Plaintiffs have been
                                                  4   damaged and will continue to sustain damage and are entitled to receive compensation
                                                  5   arising from Plaintiffs’ lost profits and efforts necessary to minimize and/or prevent
                                                  6   customer and consumer confusion, in an amount to be proven at the time of Trial. In
                                                  7   addition, Plaintiffs are entitled to disgorge Defendants’ profits, and are entitled to interest
                                                  8   and to their attorney’s fees and costs in bringing this action, all in an amount to be proven
                                                  9   at the time of Trial. Plaintiffs are further entitled to injunctive relief as set forth above,
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                                                 10   and to all other and further forms of relief this Court deems appropriate.
                                                                                      THIRD CAUSE OF ACTION
       NEWPORT BEACH, CALIFORNIA 92660




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                                                 12                         UNFAIR COMPETITION [B&P §17200, et seq.]
                                                 13                       BY PLAINTIFFS AGAINST ALL DEFENDANTS
                                                 14   69.       Plaintiffs realleges paragraphs 1 through 68 of the complaint and incorporate them
                                                 15   by this reference as though fully set forth herein.
                                                 16   70.       Defendants have committed all of the aforesaid acts willfully, maliciously and
                                                 17   oppressively, without regard to Plaintiffs’ legal, contractual, and exclusive proprietary
                                                 18   rights.
                                                 19   71.       Defendants’ acts and practices as detailed above constitute acts of unlawful, unfair
                                                 20   or fraudulent business acts and practices within the meaning of California Business and
                                                 21   Professions Code §17200.
                                                 22   72.       Pursuant to California Business and Professions Code §17203, Plaintiffs seek an
                                                 23   order from this Court prohibiting defendants from engaging or continuing to engage in
                                                 24   the unlawful, unfair, or fraudulent business acts or practices set forth herein.
                                                 25   ///
                                                 26   ///
                                                 27   ///
                                                 28   ///
                                                                                                     13
                                                                                          COMPLAINT FOR DAMAGES
                                                           Case 2:18-cv-09767 Document 1 Filed 11/20/18 Page 14 of 36 Page ID #:14


                                                  1   73.     Plaintiffs additionally requests an order from this Court requiring that Defendants
                                                  2   disgorge profits and return or pay to Plaintiffs all of Defendants’ profits from the illegal
                                                  3   transactions described herein, and/or pay restitution, including the amount of money that
                                                  4   would have been paid to Plaintiffs for the sales or tests contemplated and consummated
                                                  5   by Defendants as a result of the acts described herein, including through the use of
                                                  6   Plaintiffs' assets, trade secrets, copyrights, and trademarks.
                                                  7   74.     Plaintiffs further request an order by this Court that Defendants are the trustee of
                                                  8   all sums received by them that rightfully belong to Plaintiffs and to impose a constructive
                                                  9   trust on said sums directing defendants to hold said sums for the benefit of Plaintiffs.
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                                                 10                                    PRAYER FOR RELIEF
                                                              WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and
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                                                 12   against Defendants as follows:
                                                 13                            ON THE FIRST CAUSE OF ACTION
                                                 14                                    (Copyright Infringement)
                                                 15   1.      That Defendants each be held to have infringed Plaintiff Morisky’s MMAS-8
                                                 16   Copyright;
                                                 17   2.      That Defendants, their directors, officers, agents, servants, employees, and all other
                                                 18   persons in active concert or privity or in participation with them, be enjoined from
                                                 19   directly or indirectly infringing Plaintiff Morisky’s MMAS-8 Copyright;
                                                 20   3.      That Defendants, their directors, officers, agents, servants, employees, and all other
                                                 21   persons in active concert or privity or in participation with them, be enjoined to return to
                                                 22   Plaintiff any originals, copies, facsimiles, reproductions or duplicates of the MMAS-8
                                                 23   Copyright in their possession, custody, or control;
                                                 24   4.      That Defendants each be enjoined to deliver upon oath, to be impounded during
                                                 25   the pendency of this action, and for destruction pursuant to judgment herein, all originals,
                                                 26   copies, facsimiles, reproductions or duplicates of any work shown by the evidence to
                                                 27   infringe any of Plaintiff Morisky’s MMAS-8 Copyright;
                                                 28

                                                                                                    14
                                                                                         COMPLAINT FOR DAMAGES
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                                                  1   5.      That Defendants each be required to file with the Court and to serve on Plaintiff,
                                                  2   within 30 days after service of the Court’s order as herein prayed, a report in writing
                                                  3   under oath setting forth in detail the manner and form in which Defendants each complied
                                                  4   with the Court’s order;
                                                  5   6.      That judgment be entered for Plaintiff Morisky and against Defendants, for
                                                  6   Plaintiff’s actual damages according to proof, and for any additional profits attributable
                                                  7   to infringements of Plaintiff Morisky’s MMAS-8 Copyright, in accordance with proof;
                                                  8   7.      That judgment be entered for Plaintiff and against Defendants, for damages based
                                                  9   upon Defendants’ willful acts of infringement, pursuant to the Copyright Act of 1976, 17
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                                                 10   U.S.C. §§ 101, et. seq.;
                                                      8.      That Defendants each be required to account for all gains, profits, and advantages
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                                                 12   derived from their acts of infringement and for their other violations of law;
                                                 13   9.      That all gains, profits, and advantages derived by Defendants of their acts of
                                                 14   infringement and other violations of law be deemed to be in constructive trust for the
                                                 15   benefit of Plaintiff;
                                                 16   10.     That, to the extent that any infringement occurred subsequent to the registration of
                                                 17   the MMAS-8 Copyright, that Plaintiff be awarded statutory damages;
                                                 18   11.     That Plaintiff be awarded prejudgment interest at the legal rate pursuant to
                                                 19   California Civil Code § 3336;
                                                 20   12.     That Plaintiff be awarded exemplary/punitive damages;
                                                 21   13.     That Plaintiff be awarded attorneys’ fees and costs of suit; and
                                                 22   14.     Such other and further relief at law or in equity, to which the Court deems just and
                                                 23   proper.
                                                 24                           ON THE SECOND CAUSE OF ACTION
                                                 25                                  (Trademark Infringement)
                                                 26   15.     That it be found that Plaintiffs’ "Morisky Medication Adherence Scale" and
                                                 27   "MMAS-8" trademarks have been infringed by Defendants’ acts under 15 U.S.C. § 1125;
                                                 28   16.     That it be found that Defendants, and each of them, have unfairly competed with
                                                                                                   15
                                                                                        COMPLAINT FOR DAMAGES
                                                         Case 2:18-cv-09767 Document 1 Filed 11/20/18 Page 16 of 36 Page ID #:16


                                                  1   Plaintiffs in violation of 15 U.S.C. § 1125 and California Business and Professions Code
                                                  2   §§ 17200, et seq.;
                                                  3   17.   That it be found that Plaintiffs are entitled to recover damages from Defendants,
                                                  4   and each of them, for their acts of trademark infringement and unfair competition and
                                                  5   that Plaintiffs be awarded their reasonable attorneys’ fees;
                                                  6   18.   That it be found that Plaintiffs are entitled to recover damages from Defendants,
                                                  7   and each of them, for Defendants’ acts of unfair competition and unjust enrichment, and
                                                  8   that Plaintiffs further recover punitive damages under California law because
                                                  9   Defendants’ acts have been willful, fraudulent, oppressive, and/or malicious;
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                                                 10   19.   That Defendants, and each of them, their officers, shareholders, directors, agents,
                                                      servants, employees, attorneys, parent companies, confederates, and all persons in active
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                                                 12   concert or participation with them now and in the future, be enjoined from:
                                                 13         a.     Using any combination, reproduction, counterfeit, copy, or colorable
                                                 14                imitation of the MORISKY TRADEMARKS in connection with the use of
                                                 15                the Morisky Medication Adherence Scale or likely to injure Plaintiffs’
                                                 16                business, reputation or the reputation of the MORISKY TRADEMARKS;
                                                 17         b.     Using any combination, reproduction, counterfeit, copy or colorable
                                                 18                imitation of the MORISKY TRADEMARKS in any manner likely to cause
                                                 19                confusion, to cause mistake, or to deceive the public;
                                                 20         c.     Selling, offering to sell, advertising, promoting, or passing off, inducing, or
                                                 21                enabling others to sell, offer to sell, advertise, promote, or pass off any
                                                 22                diagnostic tools similar to those provided by Plaintiff under a name or mark
                                                 23                the same as or similar to Plaintiffs’ MORISKY TRADEMARKS;
                                                 24         d.     Committing any acts calculated to cause customers or consumers to believe
                                                 25                that Defendants’ studies, research, research results, and/or publications are
                                                 26                approved, licensed, sponsored by, or endorsed by Plaintiffs; and
                                                 27         e.     Otherwise competing unfairly with Plaintiffs in any manner, including, but
                                                 28                not limited to, infringing usage of Plaintiff’s MORISKY TRADEMARKS,
                                                                                                  16
                                                                                       COMPLAINT FOR DAMAGES
                                                         Case 2:18-cv-09767 Document 1 Filed 11/20/18 Page 17 of 36 Page ID #:17


                                                  1                or any confusingly similar marks.
                                                  2   20.   That Defendants, and each of them, be required to deliver up to Plaintiff for
                                                  3   destruction, any and all materials which infringe Plaintiffs' MORISKY TRADEMARKS
                                                  4   in Defendants’ possession or under their control;
                                                  5   21.   That Defendants be required to deliver up to Plaintiff for destruction, any and all
                                                  6   publications, study results, and other printed material in Defendants’ possession or under
                                                  7   its control displaying or exploiting Plaintiffs’ MORISKY TRADEMARKS;
                                                  8   22.   That Defendants be ordered pursuant to 15 U.S.C. § 1116(a) to file, with the Court
                                                  9   and serve upon Plaintiff, within thirty (30) days of the entry of injunction prayed for
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                                                 10   herein, a written report, under oath or affirmed under penalty of perjury, setting forth in
                                                      detail the form and manner in which it has complied with the ordered permanent
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                                                 12   injunction; and
                                                 13   23.   Such other and further relief at law or in equity, to which the Court deems just and
                                                 14   proper.
                                                 15                          ON THE THIRD CAUSE OF ACTION
                                                 16                              (Unfair Competition in Violation of
                                                 17                     California Business & Professions Code § 17200)
                                                 18   24.   For an order enjoining Defendants from engaging in acts which are unlawful,
                                                 19   fraudulent, unfair, and deceptive within the meaning of California Business &
                                                 20   Professions Code § 17200;
                                                 21   25.   For an order that Defendants restore to the general public all funds acquired
                                                 22   through their infringing activities which are unlawful, fraudulent, unfair, and deceptive
                                                 23   within the meaning of California Business & Professions Code § 17200;
                                                 24   26.   Attorneys’ fees and costs of suit incurred herein pursuant to California Code of
                                                 25   Civil Procedure §1021.5;
                                                 26   27.   For an award of compensatory damages according to proof at the time of trial; and
                                                 27   ///
                                                 28   ///
                                                                                                  17
                                                                                       COMPLAINT FOR DAMAGES
                                                         Case 2:18-cv-09767 Document 1 Filed 11/20/18 Page 18 of 36 Page ID #:18


                                                  1   28.    Such other and further relief at law or in equity, to which the Court deems just and
                                                  2   proper.
                                                  3   Date: November 20, 2018                BERSTEIN LAW, PC
                                                  4
                                                                                       By:   ______________________________
                                                  5                                          David A. Berstein
                                                  6                                          J. R. Dimuzio
                                                                                             Attorneys for Plaintiffs MMAS Research, LLC
                                                  7                                          and Dr. Donald E. Morisky
                                                  8

                                                  9
                                                                               DEMAND FOR A TRIAL BY JURY
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                                                 10
                                                             Plaintiffs hereby demand a trial by jury on all Causes of Action in the Complaint
       NEWPORT BEACH, CALIFORNIA 92660




                                                 11
                                                      so triable.
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                                                 12

                                                 13   Date: November 20, 2018                BERSTEIN LAW, PC
                                                 14

                                                 15                                    By:   David A. Berstein
                                                                                             J. R. Dimuzio
                                                 16                                          Attorneys for Plaintiffs MMAS Research, LLC
                                                 17                                          and Dr. Donald E. Morisky
                                                 18

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                                                                                       COMPLAINT FOR DAMAGES
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               EXHIBIT A
11/20/2018                         A textCase
                                          messaging intervention to promote
                                                2:18-cv-09767               medication adherence
                                                                        Document        1 Filed  for 11/20/18
                                                                                                     patients with coronary
                                                                                                                     Pageheart
                                                                                                                            20disease:
                                                                                                                               of 36 a randomized
                                                                                                                                        Page IDcontrolled
                                                                                                                                                  #:20 trial. - PubMed - NCBI

 PubMed


Format: Abstract                                                                                                                                               Full text links

Patient Educ Couns. 2014 Feb;94(2):261-8. doi: 10.1016/j.pec.2013.10.027. Epub 2013 Nov 18.

A text messaging intervention to promote medication adherence for
patients with coronary heart disease: a randomized controlled trial.
Park LG1, Howie-Esquivel J2, Chung ML3, Dracup K2.

  Author information

Abstract
OBJECTIVE: Pharmacologic treatment for secondary prevention of coronary heart disease (CHD) is critical to
prevent adverse clinical outcomes. In a randomized controlled trial, we compared antiplatelet and statin
adherence among patients with CHD who received: (1) text messages (TM) for medication reminders and
education, (2) educational TM only, or (3) No TM.
METHODS: A mobile health intervention delivered customized TM for 30 days. We assessed and analyzed
medication adherence with electronic monitoring devices [Medication Event Monitoring System (MEMS)] by
one-way ANOVA and Welch tests, two-way TM response rates by t-tests, and self-reported adherence
(Morisky Medication Adherence Scale) by Repeated Measures ANOVA.
RESULTS: Among 90 patients (76% male, mean age 59.2 years), MEMS revealed patients who received TM
for antiplatelets had a higher percentage of correct doses taken (p=0.02), percentage number of doses taken
(p=0.01), and percentage of prescribed doses taken on schedule (p=0.01). TM response rates were higher for


https://www.ncbi.nlm.nih.gov/pubmed/24321403                                                                                                                                     1/3
11/20/2018                         A textCase
                                          messaging intervention to promote
                                                2:18-cv-09767               medication adherence
                                                                        Document        1 Filed  for 11/20/18
                                                                                                     patients with coronary
                                                                                                                     Pageheart
                                                                                                                            21disease:
                                                                                                                               of 36 a randomized
                                                                                                                                        Page IDcontrolled
                                                                                                                                                  #:21 trial. - PubMed - NCBI
antiplatelets than statins (p=0.005). Self-reported adherence revealed no significant differences among
groups.
CONCLUSION: TM increased adherence to antiplatelet therapy demonstrated by MEMS and TM responses.

PRACTICE IMPLICATIONS: Feasibility and high satisfaction were established. Mobile health interventions
show promise in promoting medication adherence.
Published by Elsevier Ireland Ltd.


KEYWORDS: Antiplatelets; Coronary heart disease; Medication adherence; Mobile phone; Statins; Text messaging

PMID: 24321403 DOI: 10.1016/j.pec.2013.10.027

[Indexed for MEDLINE]




Publication types, MeSH terms, Substances
Publication types
Randomized Controlled Trial
Research Support, Non-U.S. Gov't

MeSH terms
Adult
Aged
Aged, 80 and over
Analysis of Variance

https://www.ncbi.nlm.nih.gov/pubmed/24321403                                                                                                                                    2/3
11/20/2018                         A textCase
                                          messaging intervention to promote
                                                2:18-cv-09767               medication adherence
                                                                        Document        1 Filed  for 11/20/18
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                                                                                                                               of 36 a randomized
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                                                                                                                                                  #:22 trial. - PubMed - NCBI
Cell Phone
Coronary Disease/drug therapy*
Female
Humans
Hydroxymethylglutaryl-CoA Reductase Inhibitors/therapeutic use*
Male
Medication Adherence*
Middle Aged
Patient Satisfaction
Platelet Aggregation Inhibitors/therapeutic use*
Prospective Studies
Reminder Systems*
Text Messaging*

Substances
Hydroxymethylglutaryl-CoA Reductase Inhibitors
Platelet Aggregation Inhibitors


LinkOut - more resources




https://www.ncbi.nlm.nih.gov/pubmed/24321403                                                                                                                                    3/3
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                EXHIBIT B
    Case 2:18-cv-09767 Document 1 Filed 11/20/18 Page 24 of 36 Page ID #:24



Factors Associated with Medication Non-
adherence in Patients with End-Stage Liver
Disease


Selena Z. Kuo, Marta Haftek & Jennifer
C. Lai


Digestive Diseases and Sciences

ISSN 0163-2116

Dig Dis Sci
DOI 10.1007/s10620-016-4391-z




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Dig Dis Sci
DOI 10.1007/s10620-016-4391-z

    ORIGINAL ARTICLE



Factors Associated with Medication Non-adherence in Patients
with End-Stage Liver Disease
Selena Z. Kuo1 • Marta Haftek1 • Jennifer C. Lai1




Received: 14 August 2016 / Accepted: 22 November 2016
Ó Springer Science+Business Media New York 2016


Abstract                                                         reasons for low adherence were: forgetfulness (27%) and
Background Low medication adherence is known to con-             side effects (14%). Compared to high adherence, low
tribute to worse health outcomes in the general population.      adherence was associated with higher number of medica-
Aim We aimed to evaluate the medication regimen and              tions, medication complexity, and diabetes, but lower rates
determine the adherence levels among patients with end-          of hepatocellular carcinoma and self-perceived health. In
stage liver disease.                                             univariable logistic regression, total medication number
Methods We measured adherence in patients awaiting               (OR 1.08), MRCI (OR 1.04), diabetes (OR 2.38), HCC
liver transplantation at a single center using the 8-item        (OR 0.38), and lower self-perceived health (OR 1.37), were
Morisky Medication Adherence Scale (MMAS-8), with a              statistically significant factors associated with non-adher-
score \8 classified as low adherence. Medication regimen         ence. In multivariate analysis, only medication number
complexity was assessed using the Medication Regimen             without supplements (OR 1.14) remained significantly
Complexity Index (MRCI) tool. Factors associated with            associated with medication non-adherence.
low adherence were identified by logistic regression.            Conclusion A majority of patients awaiting liver trans-
Results Of 181 patients, 33% were female, median age             plantation demonstrated low medication adherence. Total
was 62, and model for end-stage liver disease (MELD)             number of medications and regimen complexity were
score was 13. The median (IQR) number of medications             strong correlates of low adherence. Our data underscores
was 10 (7–13), and the MRCI was 19 (13–27). In total, 54         the need for chronic liver disease management programs to
(30%) were high adherers, and 127 (70%) were low                 improve medication adherence in this vulnerable
adherers. In total, 42% reported sometimes forgetting to         population.
take their medication and 22% reported intermittent
adherence within the past 2 weeks. The most common               Keywords Medication adherence Á Liver transplantation Á
                                                                 End-stage liver disease Á MMAS-8 Á Medication
                                                                 complexity regimen index
Electronic supplementary material The online version of this
article (doi:10.1007/s10620-016-4391-z) contains supplementary
material, which is available to authorized users.
                                                                 Introduction
& Jennifer C. Lai
  Jennifer.lai@ucsf.edu                                          Poor adherence to medication regimens adversely impacts
     Selena Z. Kuo                                               health outcomes in many chronic conditions. In the USA,
     Selena.kuo@ucsf.edu                                         up to 69% of all medication-related hospital admissions are
     Marta Haftek                                                due to medication non-adherence alone [1, 2]. In the con-
     Marta.haftek@gmail.com                                      text of transplant, poor adherence to immunosuppressive
1                                                                therapy is considered one of the leading causes of pre-
     Division of Gastroenterology/Hepatology, Department of
     Medicine, University of California, San Francisco, 513      ventable graft failure; it is estimated to be involved in 20%
     Parnassus Ave, Med Sci, San Francisco, CA 94143, USA        of late acute rejection episodes and 16% of graft losses [3].


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                                                                                                                  Dig Dis Sci


Specifically, in liver transplant recipients, the mean self-    assistant and then by the clinician. Drugs were categorized
reported non-adherence was 14%, whereas 32% were                according to the Anatomical Therapeutic Chemical Clas-
shown to be non-adherent to medications based on tacro-         sification System (ATC code) [10]. Medication complexity
limus levels [4]. While the data on medication adherence in     was assessed using the Medication Regimen Complexity
organ transplantation is mainly focused on the post-trans-      Index (MRCI) tool [11]. The MRCI score incorporates the
plant period, there is a clear paucity of studies in the pre-   number of medications, dosage frequency, dosage forms,
transplant period [3–6].                                        and administration instructions. There are no upper or
   Since poor adherence to medication can be modifiable, it     lower limits for the MRCI scale. For reference, the MRCIs
is critical to understand the predictors and risk factors of    of patients with HIV, diabetes mellitus, and hypertension
non-adherence in the transplant setting—particularly given      have scores of 22, 23, and 18, respectively [12]. Topicals,
that pre-transplant non-adherence may impact post-trans-        shampoos, and natural substances were not included in the
plant outcomes [7]. This is even more important to address      analyses.
in the pre-transplant setting given that the MRCI of                Patient demographics including medical comorbidities,
transplant-specific medications in liver transplant patients    ascites, insurance status, marital status, and laboratory
is 18 with an average of 8.5 medications [5]. Therefore, in     studies within 3 months of the study visit were collected
this study, we aimed to assess medication adherence in          from the patient’s electronic health record.
patients with end-stage liver disease awaiting liver trans-         At the same visit, we asked patients the following
plantation with the intent of identifying modifiable factors    question derived from the National Health Interview Study
associated with medication non-adherence.                       [13] to rate their general health status:
                                                                  Would you say your health in general is excellent (0),
                                                                  very good (1), good (2), fair (3), poor (4), or very
Methods
                                                                  poor (5)?
Study Population
                                                                Statistical Analysis
Included were consecutive adult (C18 years), English-
                                                                Patients were classified as highly adherent if they scored 8
speaking patients with end-stage liver disease listed for
                                                                on the MMAS-8 and low adherers if they scored \8. Dif-
liver transplantation who presented for an outpatient clin-
                                                                ferences in baseline characteristics by medication adher-
ical visit to the UCSF Liver Transplant Clinics between
                                                                ence status were analyzed using Chi-square or Wilcoxon
April 2015 and November 2015. Patients at any Child-
                                                                rank-sum tests for categorical and continuous variables,
Pugh score and MELD score were eligible to enroll.
                                                                respectively. Univariable logistic regression was performed
Excluded were patients with severe hepatic encephalopa-
                                                                to determine which factors were associated with low
thy, defined by the time to complete the numbers connec-
                                                                medication adherence. Multivariable logistic regression
tion test of [120 s, as we felt that severe hepatic
                                                                was performed with inclusion of all factors statistically
encephalopathy would impair a patient’s ability to com-
                                                                associated with low medication adherence in univariate
plete the study procedures [8].
                                                                analysis. A cutoff p value \0.05 was used to determine
                                                                statistical significance.
Study Procedures and Data Collection
                                                                   StataÒ v11 (College Station, Texas) was used for all
                                                                statistical analyses.
All patients in this study filled out the Morisky Medication
Adherence Scale (MMAS), an instrument widely used to
measure medication adherence for a variety of chronic
diseases and was initially validated in patients with           Results
hypertension [9]. The MMAS contains eight self-reported
items with seven yes or no questions, and one question          Baseline Demographics of the Cohort
answered on a 5-point Likert scale (a-reliability = 0.83).
Each ‘‘no’’ answer yields one point; any score \8 points is     Baseline characteristics of the 181 patients with end-stage
classified as ‘‘low adherence,’’ as there is no room for        liver disease awaiting liver transplantation are presented in
medication error with transplant patients on the waitlist.      column A of Table 1. The median (IQR) age was 62
   Each patient’s medication regimen was obtained by            (56–65), 33% were female, 57% were non-Hispanic white,
electronic health record review on the date of assessment.      48% had chronic HCV, 36% had HCC, and 21% had a
Medication reconciliation is a required part of every out-      caregiver that was not themselves. With respect to medical
patient, and it is performed twice, first by the medical        comorbidities, 48% had hypertension, 28% had diabetes,


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Table 1 Baseline characteristics of 181 patients with end-stage liver disease awaiting liver transplantation
Characteristics                              All                         High adherence (8)             Non-adherence (\8)    p value
                                             n = 181                     n = 54 (30%)                   n = 127 (70%)

Age, years                                   62 (56–65)                  62 (56–65)                     61 (56–64)            0.59
% Female                                     33%                         28%                            35%                   0.37
% White                                      57%                         61%                            55%                   0.51
BMI                                          29.6 (25.9–32.4)            28.9 (25.2–32.7)               29.7 (25.9–32.4)      0.65
Etiology of liver disease                                                                                                     0.66
HCV                                          48%                         48%                            48%
Alcohol                                      20%                         24%                            19%
Other                                        31%                         28%                            33%
HCC                                          36%                         52%                            29%                   0.004
Medical comorbidities
Hypertension                                 48%                         43%                            50%                   0.39
Diabetes                                     28%                         17%                            32%                   0.03
Coronary artery disease                      6%                          0%                             9%                    0.03
Married                                      64%                         61%                            65%                   0.58
Primary caregiver that is not self           21%                         15%                            24%                   0.18
Insurance                                                                                                                     0.2
Medicare                                     18%                         11%                            21%
Private insurance                            71%                         80%                            67%
Medi-Cal insurance plan                      11%                         9%                             12%
Self-assessment                                                                                                               0.001
Excellent/very good                          24%                         15%                            21%
Good                                         36%                         58%                            28%
Fair                                         29%                         13%                            35%
Poor/very poor                               11%                         7%                             8%
Laboratory MELD                              13 (10–17)                  13 (10–17)                     14 (11–17)            0.41
Ascites                                      24%                         19%                            25%                   0.38
Numbers connection test, seconds             36 (28–48)                  34 (25–49)                     39 (28–48)            0.22
Child-Pugh score
A                                            38%                         41%                            36%                   0.78
B                                            46%                         45%                            47%
C                                            16%                         14%                            17%
Total number of medications                  10 (7–13)                   8 (6–12)                       10 (7–13)             0.01
Number of medications                        7 (5–10)                    6.5 (4–9)                      8 (5–10)              0.008
Number of supplements                        2 (1–3)                     2 (1–3)                        2 (1–3)               0.9
MRCI                                         19 (13–27)                  17 (9–24)                      20 (14–28)            0.02
Anti-infectives                              66%                         61%                            68%                   0.4
Blood and blood-forming organs               28%                         15%                            34%                   0.009
Genitourinary                                12%                         13%                            12%                   0.8
Musculoskeletal                              30%                         24%                            32%                   0.3
Nervous system                               36%                         30%                            39%                   0.2
Respiratory system                           30%                         26%                            32%                   0.4
Cardiovascular system                        31%                         26%                            34%                   0.3
GI and metabolism                            90%                         87%                            91%                   0.4
Systemic hormones                            15%                         13%                            17%                   0.5
Liver-related medications                    90%                         83%                            92%                   0.08




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and 6% had coronary artery disease. The median (IQR)                      adherers. Overall, 42% of patients reported that they
MELD score was 13 (10–17), and the proportion with Child-                 ‘‘sometimes forget to take their medication’’ and 28% of
Pugh score A, B, and C was 38, 46, and 16%, respectively.                 the patients reported that ‘‘there were times I did not take
                                                                          my medications in the past two weeks’’ (Table 2).
Medication Regimen of Patients with End-Stage
Liver Disease
                                                                          Baseline Characteristic Differences Associated
                                                                          with Medication Non-adherence
The median (IQR) number of total medications per patient
(including supplements) was 10 (7–13). Not including
                                                                          Median MELD scores and Child-Pugh scores were similar
supplements, the median number of medications per patient
                                                                          between patients with low versus high medication adher-
was 7 (5–10). The median MRCI of the total medications
                                                                          ence, but rates of HCC were lower in patients with low
for each patient was 19 (13–27). For reference, the MRCIs
                                                                          adherence (29 vs. 52%; p = 0.004) (Table 1). Patients with
of patients diagnosed with HIV, diabetes mellitus, and
                                                                          low versus high adherence had higher rates of diabetes (32
hypertension, have mean MRCI scores of 22, 23, and 18,
                                                                          vs. 17%; p = 0.03) despite similar medication complexity
respectively [12].
                                                                          by MRCI score (18 vs. 20; p = 0.09).
   The patient cohort had a total of 1800 unique medica-
                                                                             The low adherence group had a median of 10 medica-
tions; 395 (22%) were over-the-counter supplements
                                                                          tions per patient (IQR 7–13) compared to the high adher-
(Supplemental Table 1). The most commonly prescribed
                                                                          ence group, which had eight medications (6–12; p = 0.01).
medications were related to the gastrointestinal tract and
                                                                          Both groups had a median of two supplements. After
metabolism (30%)—primarily proton-pump inhibitors
                                                                          adjusting for supplements, there was still a statistically
(6%). Liver-related medications were the second most
                                                                          significant difference in medication number in the low
commonly prescribed, which included loop diuretics (6%),
                                                                          adherence group compared to the high adherence group (8
osmotic laxatives (5%), and potassium-sparing diuretics
                                                                          vs. 6.5; p = 0.008). Compared to patients reporting high
(5%). Of the supplements, vitamins accounted for 12% of
                                                                          medication adherence, patients with low adherence had a
the total medications.
                                                                          higher medication complexity by MRCI score (20 vs. 17,
                                                                          p = 0.02). Patients with low adherence also reported sig-
Assessment of Medication Adherence                                        nificantly lower self-reported health (58 vs. 28% reported
                                                                          ‘‘good’’ and 13 vs. 35% reported ‘‘fair’’; p = 0.001). There
Based on the MMAS-8 survey, 54 (30%) patients were                        was no association between the percent of patients on
classified as highly adherent and 127 (70%) patients as low               medications of different classes.



Table 2 The 8-item Morisky Adherence Questions
Questions                                                                                                                               % of
                                                                                                                                        Yes

1. Do you sometimes forget to take your medicine?                                                                                       42%
2. People sometimes miss taking their medicines for reasons other than forgetting. Thinking over the past two weeks, were there any     28%
  days when you did not take your medicine?
3. Have you ever cut back or stopped taking your medicine without telling your doctor because you felt worse when you took it?          15%
4. When you travel or leave home, do you sometimes forget to bring along your medicine?                                                 17%
5. Were there any medications you did not take yesterday?                                                                               12%
6. When you feel like your symptoms are under control, do you sometimes stop taking your medicine?                                      11%
7. Taking medicine every day is a real inconvenience for some people. Do you ever feel hassled about sticking to your treatment plan?   23%
8. How often do you have difficulty remembering to take all your medicine?                                                              1–72%
 (1) Never/rarely, (2) once in a while, (3) sometimes, (4) usually, and (5) all the time                                                2–22%
                                                                                                                                        3–4%
                                                                                                                                        4–1%
                                                                                                                                        5–1%
The MMAS-8 was used to determine levels of adherence for each patient. The total percentage of yes answers to each question is reported




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Table 3 Reasons for not taking
                                 Reasons for not taking medication                                                             Frequency
medications
                                 I feel like my symptoms are under control                                                      6 (3%)
                                 Side effects                                                                                  30 (14%)
                                 Cost of medication or other barriers to obtaining medication                                   2 (0.9%)
                                 I do not think the medication is helping control my symptoms                                   2 (0.9%)
                                 I forget to take my medication                                                                57 (27%)
                                 The reason I need to take my medication was not made clear to me                               4 (2%)
                                 Other reasons                                                                                 56 (27%)
                                 Timing or scheduling issue                                                                    29 (14%)
                                 Too busy with other activities/traveling                                                       3 (1%)
                                 Does not like the taste or taking the medication                                               8 (4%)
                                 Not applicable, always takes medication                                                       54 (26%)
                                 Patient-reported reasons for not taking their medication and the frequency of each answer. There were 211
                                 responses, as some patients listed more than one reason, and some of the highly adherent patients did not
                                 have a response


Patient-Reported Reasons for Non-adherence                            disease (e.g., chronic hepatitis B and autoimmune hepati-
                                                                      tis). In addition, as the population ages, they are increas-
Of the 181 patients, there were 211 total responses when              ingly presenting with multiple comorbidities such as
asked the reason for not taking medication. The most                  hypertension and diabetes that can be independent of their
commonly stated reason was ‘‘I forget to take my medi-                liver disease but also contribute directly to their liver
cation’’ (27%). The second most common reason was ‘‘side              dysfunction. Management of all of these conditions
effects’’ (14%) (Table 3). There were 109 total responses             involves pharmacotherapy, but as these conditions add up,
for the medications least likely to take, and the most                the medication burden for the patient can become seem-
common response was lactulose (27%), followed by                      ingly overwhelming.
diuretics (16%), nighttime medications (8%), and all other                In this paper, we describe this burden and its conse-
medications were \6% of the responses.                                quential effects of medication adherence in patients with
                                                                      end-stage liver disease. We assigned everyone who was not
Factors Associated with Medication Non-adherence                      perfectly adherent as ‘‘low adherers,’’ because in the
                                                                      transplant setting, there is no room for medication error as
In univariable logistic regression, MRCI (OR 1.04 95% CI              patients can quickly develop liver rejection or opportunistic
1.00–1.08; p = 0.03), total medication number (OR 1.09                infections. We observed a high rate of medication non-
95% CI 1.00–1.07; p = 0.04), medication number without                adherence (70%). This is all the more alarming given that
supplements (OR 1.14 95% CI 1.03–1.25; p = 0.009),                    our study population consists of a select subgroup of
diabetes (OR 2.38 95% CI 1.06–5.34; p = 0.04), and HCC                patients who have been listed for liver transplantation for
(OR 0.38 95% CI 0.20–0.74; p = 0.004), and lower self-                which the perceived ability to adhere to medications after
assessment of health status (OR 1.39 95% CI 0.98–1.98;                transplant is a pre-requisite. On average, a patient in our
p = 0.07) were significantly associated with non-adher-               cohort only waits one year for transplantation, which fur-
ence. In multivariable logistic regression, after allowing for        ther highlights the urgency of the situation, as many of
all factors associated with medication non-adherence in               these patients were likely non-adherent to their medications
univariable analysis, only medication number without                  close to their transplant date. Even though the MRCI scores
supplements (OR 1.14 95% CI 1.03–1.25; p = 0.009)                     of this patient cohort were on par with other chronic dis-
remained significantly associated with medication non-                eases, our data demonstrates that a higher medication
adherence.                                                            burden is an associated factor of low adherence. Each unit
                                                                      increase in number of medications was associated with a
                                                                      14% increase in odds of being non-adherent to medica-
Discussion                                                            tions. Interestingly, liver disease severity, as measured by
                                                                      MELD or Child-Pugh score, was not significantly associ-
Patients with end-stage liver disease suffer from compli-             ated with medication non-adherence in multivariable
cations such as ascites, hepatic encephalopathy, and var-             analysis. Having diabetes was associated with medication
iceal bleeding, on top of their underlying chronic liver              non-adherence despite there being no difference in MRCI


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scores, indicating that there is a separate component to           hypertension, diabetes, and epilepsy [9, 17, 18]. It relies on
having diabetes that puts patients at risk of low adherence.       self-report to assess adherence, rather than pharmacy
Not surprisingly, patients with hepatocellular carcinoma           records; however, a prior study has shown strong correlation
had lower overall MRCIs, which likely explains why                 with MMAS-8 scores and pharmacy refill adherence for
patients with HCC have better medication adherence.                antihypertensive medications in patients with hypertension
Lower self-assessments of a patient’s general health were          [19]. Given our relatively small sample size, effects that
also a correlate of low adherence. A lack of insight into          were not statistically significant may still be important fac-
one’s own illness has been recognized as a barrier to drug         tors of non-adherence. Furthermore, the sample size limited
adherence, and it is possible that the patients who report a       our ability to correlate non-adherence with clinical out-
lower self-perceived health status have a more negative            comes, which will be critical to assess in future studies. We
outlook and belief about their disease state. However, it is       only collected overall adherence to the medication regimen
also possible that patients feel worse due to a lack of            as a whole and were unable to assess adherence levels to
control of their symptoms from their poor adherence.               specific medications or medication categories. Though our
Regardless, the patient’s self-assessment can serve as a           limited sample size could have resulted in underpowering, it
quick identifier of patients at risk of non-adherence.             is the largest study to date that investigates adherence in
   Our study also provides a detailed evaluation of the            patients awaiting transplant. Patients with severe hepatic
medication regimens of patients with end-stage liver dis-          encephalopathy were excluded from the study, but they only
ease. This population of patients has medication regimens          account for 2% of the patient cohort, which is unlikely to
that span a wide range of categories, with a degree of             have a large effect on the data analysis. Patients in this
complexity (e.g., frequency and route of administration)           cohort were from a single center, and only patients proficient
that is comparable to other chronic diseases such as HIV           or fluent in English were included in the study, which may
and diabetes patients [12]. As with other chronic diseases,        limit generalizability to non-English-speaking patients.
end-stage liver disease is hardly a ‘‘singular’’ condition; it     Both medication regimens and medication adherence levels
is associated with multiple comorbidities (e.g., hyperlipi-        are independently dynamic throughout a patient’s life, and
demia, hypertension, and diabetes) and leads to multiple           we only assessed medication adherence at a single time
complications (e.g., ascites, hepatic encephalopathy, and          point. Despite this, our study still identified alarmingly high
osteoporosis)—all of which involve at least one if not             rates of low adherence, and our data collection of potential
multiple medications for optimal management. It has been           factors was done at the same time point that the MMAS-8
shown that many cirrhotics lack the knowledge required to          tool was administered.
manage their own disease, but simple educational inter-               In conclusion, patients with end-stage liver disease
ventions have proven effective, which could potentially            awaiting liver transplantation display low medication
translate into better medication adherence [14]. In addition,      adherence predominantly related to the total burden of
studies in the liver transplant recipients have shown that         medication regimens. Given that medication adherence
higher scores in treatment knowledge and demonstrated              prior to transplant is strongly associated with medication
regimen use were associated with reductions in post-               adherence after transplant [7], we advocate for the devel-
transplant rehospitalizations [4]. In the kidney transplant        opment and implementation of pre-transplant chronic dis-
setting, limited literacy was associated with non-adherence        ease management programs that include structured
[6]. Systematic reviews on interventions for chronic con-          medication support. Future research should also focus on
ditions have shown that dosage simplification and repeated         clinical outcomes, such as hospitalizations or decompen-
assessment of medication use with feedback were by far             sations, which may directly result from medication non-
the most effective interventions [15]. The behavioral              adherence. Our work serves as strong justification for
intervention of three telephone calls to assess adherence,         future research to develop novel strategies to enhance
provide feedback, and give recommendations in patients             medication adherence in this vulnerable patient population.
with dyslipidemia, provided the largest effect size [16]. It is
                                                                   Compliance with ethical standards
imperative that novel strategies that combine dosage sim-
plification, such as development of single-pill combina-           Conflicts of interest None to disclose.
tions, and educational interventions tailored to patients
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more acutely sick patient population.                              References
   We acknowledge several limitations to our study. The
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MMAS-8 tool has not previously been tested in a population             Med. 2005;353:487–497.
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validated in several other chronic conditions, including               determining costs and frequency of adverse drug events in a


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                EXHIBIT C
11/8/2018               Comparing Mobile Health 2:18-cv-09767
                                       Case     Strategies to Improve Medication
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JMIR Res Protoc. 2017 Jul 18;6(7):e134. doi: 10.2196/resprot.7327.

Comparing Mobile Health Strategies to Improve Medication Adherence for
Veterans With Coronary Heart Disease (Mobile4Meds): Protocol for a Mixed-
Methods Study.
Park LG1, Collins EG2, Shim JK3, Whooley MA4.

  Author information
1 Department of Veterans Affairs, Community Health Systems, University of California, San Francisco, San
  Francisco, CA, United States.
2 Edward Hines Jr., VA Hospital, Department of Biobehavioral Health Science, University of Illinois at Chicago,
  Chicago, IL, United States.
3 University of California, San Francisco, Social and Behavioral Sciences, San Francisco, CA, United States.
4 Department of Veterans Affairs, Department of Medicine, Epidemiology and Biostatistics, University of
  California, San Francisco, San Francisco, CA, United States.

Abstract
BACKGROUND: Adherence to antiplatelet medications is critical to prevent life threatening complications (ie,
stent thrombosis) after percutaneous coronary interventions (PCIs), yet rates of nonadherence range from 21-
57% by 12 months. Mobile interventions delivered via text messaging or mobile apps represent a practical
and inexpensive strategy to promote behavior change and enhance medication adherence.
OBJECTIVE:
https://www.ncbi.nlm.nih.gov/pubmed/28720557                                                                                                                                              1/3
11/8/2018               Comparing Mobile Health 2:18-cv-09767
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The Mobile4Meds study seeks to determine whether text messaging or a mobile app, compared with an
educational website control provided to all Veterans, can improve adherence to antiplatelet therapy among
patients following acute coronary syndrome (ACS) or PCI. The three aims of the study are to: (1) determine
preferences for content and frequency of text messaging to promote medication adherence through focus
groups; (2) identify the most patient-centered app that promotes adherence, through a content analysis of all
commercially available apps for medication adherence and focus groups centered on usability; and (3)
compare adherence to antiplatelet medications in Veterans after ACS/PCI via a randomized clinical trial
(RCT).
METHODS: We will utilize a mixed-methods design that uses focus groups to achieve the first and second
aims (N=32). Patients will be followed for 12 months after being randomly assigned to one of three arms: (1)
customized text messaging, (2) mobile app, or (3) website-control groups (N=225). Medication adherence will
be measured with electronic monitoring devices, pharmacy records, and self-reports.
RESULTS: Enrollment for the focus groups is currently in progress. We expect to enroll patients for the RCT
in the beginning of 2018.
CONCLUSIONS: Determining the efficacy of mobile technology using a Veteran-designed protocol to promote
medication adherence will have a significant impact on Veteran health and public health, particularly for
individuals with chronic diseases that require strict medication adherence.
TRIAL REGISTRATION: ClinicalTrials.gov NCT03022669.
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KEYWORDS: adherence; cardiovascular disease; medication; mobile application; mobile health; text messaging

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https://www.ncbi.nlm.nih.gov/pubmed/28720557                                                                                                                                              2/3
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